Olutolunbo ick | be

so “SOFRICER S STEVEN FARLEY No. Anis.

- Individually and in His Official Capacities,
- : :c/o City of Philadelphia Law Department.

. One Parkway, 5h Eloor. ae
2 4 DSS ARCH Street ‘
oe wn Eblaaeiohie PA 191025.

ae City of Philadelphia Lay w Depart
One Parkway, 15 Floor

2 ee Action No, 2:18-cv-0924°."

U2 US.C. § 1983)

“This isa civil rights action in hich named Plaintif Olutolcanbo Bfonmuga, seeks relief.
in. n the. form. of declaratory, and injunctive relief, as well as compensatory and punitive damages, |
of ins ris privileges and in immunities secured byt the Cit wie

af or r injuries, and the violation

ee 22R I 4 “This action is is brought pursuant to, Title vi of the. Civil Rights Act 11964, 42 U. S. C. Gf
i 8 1981, 1982, 1983, 1985 and 1988, the First, Fourth, Fifth, and Fourteenth, Amendments, of the. nk
/ ‘United States Constitution, other constitntional provisions and d foder a statutes, and Pursuant t to. Mie

ms 2BUS.C4§ 1 1331, 1332.and. 1343 et seq. 4 tad yi eke 2
2, oD urisdiction i is established 0 over x state law. claims based on supplemental a ms

- 2 Hein nr SCH fen paige phy BAS a tts ‘ = <
ahaa Bn! “Declaratory ¢ and Injunetive relief is,  auborized by? 28 USE. 8 201-229, ane Bd

ile 51 of the e Federal Rules of Civil Procedure. ore :
< The amount in, controversy. exclusive 0 of interest and cost exceeds 0 one 3¢ hundred

“All claims herein a arose within the jurisdiction of whe United States District Court. :
ce or principle : ;

: = plage of of business is is within the Courts «sjuisdiedonal poundatis Therefor, venue, is s appropriately ;

invo voked perma to, 28 U. 8. C8 1391(b), and (2. 3

a 3 ‘ 8, At al times silevabh to iil action, 5», Defendant] Bric Lee was a patios officer ee i S “ tn om

be ‘zeae by the Philadelphia 1 Police Department and issued the badge N No. 3351, to perform, amd : a

a ‘ ate in the. City of Philadelphia. and ‘was assigned to the 16 District, : =
_ i At all relevant times, this Defendant was acting as the agent, servant, and employee o of.

“Defendant City: of Philadelphia, DeReardont. et iyo: act nd der color of es : fc le

»y This Defendant is sued individually and in his. official capacity F

eae AEGAN :

“Ong ot about the 1 ayy of March 2016, at 0 or about, 30. pm, the e Plaintiff w was 00. ze

at of property n manager, 5, lavfully iets an »ehgcrical is issue. at the fing, In ndos 50, a be:

3 : disagreement between himself and tenants of the building erupt into a a physical altercation which,

ane . ; ane Proper ty is an apt building owned by Glukorede e Efannugs, and nd opened by itletual | rope Manager = Bogs
Tae Le, a a yeNiese WHER was. ovat and Spertles by! Flalantt A ee ee : -s Be oe
‘ab brother of the landlords,
“b)t not a resident of the property; zs

; : : “9 property manager ¢ of the building; *, 2 : Pde igh aay
: os Ad) there to address, an. electrical issue in ie unit of the cpp 2 . mS . - bog on eae,

a ‘) the complainant in the matter; ei BE ae dy oak fey

hy a a summoned to the property. a business office. e ar ‘ im ane, : bey oe
B “13 : : Defendants, with each other’ s active approval, conducted a personal s search and.
lic without reasonable suspicion or probable ¢ cause. No, reasonable basis existed for Ors

Ae seizure in publ:
, and was done by Defendant Farley i in tetaliation for the se o

“thea actions taken. against plaintiff...

ae manner r of Plaintiffs replies, to. the interroga i ins i hee,
“A \fter farther investigation was conducted, Plant w was instructed by: the officers

son the | basement and leave the premises, of which he ne complied

“unlocked a a 1 chain and lock used 10. secure the gate to 9 allow vps Fenty. Ibrahim, » Howard then y

ile he remained ontside with -

“Plaintiff f entered the basement, which had the power. -inined off at the time, to,
me Keys. wineh ys were e lost in nthe altercation on

” *, : gather his stool and search for his personal cat ond: hom

*-. 2.No other persons present were subjected to “Frisk”. . Ba”.

8. “The icy were, easly observed by. Defendant 1 Fasey, using his Aashlight, and both

La , “va standing curbside by the patrol ca car in n front of the property, :

Sometime pon ] Plaintit?’ s departure. from, the property, Defendant Farley --

Le . ‘entered t the basement, which was, not t locked bye closed t to me public and eooducteds a. search of . a ‘

“ the Premises: .

le

ee : duty towing chain i in nhis possession, I Plaintiff was, sweaty. seized, searched and arrested by.

* Defendant Farley, as Defendant Te watched On. .

“he Pains possessions v were. resemoved f from his p person, a, which included a cell : fe

‘phone his is personal: vehicle, and home keys a as well asa wallet containing $301. 00 USD. ad three

orms of identification:. ot
is a) Pennsylvania: Driver’ 'S. License;
2 Delaware State Non D iver’s License;

0) Social ecutity Card.

Jnnowledged bi his wr yrongdoing in n procedures and practice and repeatedly refertedt to the, .

oe: oot circumstances using | terms such as “clusterfuck”; while confirming that plaintiff: was on! “parole

Svand wil sit anyway”. ok oP) OE Ty hey,
at a It was the first meeting af the 2 minds by] Defendant Farley and mnknown n pole,

ar , officers, which served as bases fore. conspiracy to aoe Plaintiff of a constitutionally.

: I protected rights. . i Oates eS oe oS, age
i ade “Plaintife. was s later removed. from the premises and taken. to the 19" district -

6 precinet, where he remained in, the squad car r while Defendant Farley © exited the vehicle and.

_ a submitted dociments, in the Police Station, Oe ma) a, eee Be es 2 ng thee Bs
33.3 - Plaintiff was ssubsequen lyin ansposted fo the is district preeinct to be efother

‘processed, fingersinted, and detaines while awaiting charges, 10 be filed against | him, Toe
Ke . ; SA search warrant was sought by Detective, Steven Blackwell, the, affiant In his. :
es polation for the watrant, Detective Blackwell falsely identified Plaintiff as ‘the owner of the. :

‘Dp roperty, in contradiction of the record knowingly, intentionally ‘with reckless disregard of the

uth a and materially atsig the finding, of pane cause, ok

: 3 35 5§7 780-113 3 MANUFACTURE, :, DELIVERY: MARI 17U AN WAP Cae
. aol various it items. Mss Ty

e ‘aitegardf for

ie -vehicle vw

3 AS a direct and proximate. result of the deliberate indifference and callous =
Plaintiff's s property i in the. care, custody. and control of Defendant Farley, I Plait’ s 8

was accessed by persons. ‘without consent, to do so rising ¢ the keys, and large sums of

a, 5 collected re rent it money Gl, 200), jewelry. 1, 500), and tools $3. 000) v were. stolen, from, the truck,

ible for keys that were

2 “hoty water x heater in the basement of 728 North noes St, , Defendant a Fale and Officer Remon, ae

4, without consent

3

hee, “pefore making crimes comments 2 and ‘leaving with a no > explanation or -jaebficition, aoa

= “Defendant Farley. with, Officer Ramon Chaulisant conducted a personal : search, and, ae a

os inte 2 of Plaintiff i in and 0 al the private property. No reasonable basis, existed f forts the. actions”

Do EA ee 4 “ono or + about 10/7 16, the oes of tial 0 on nthe matter, , Plainti attempted to commit Se
we suicide and v was s found unresponsive i in. his home, at a7 Oschard J Ave, | in 1 Yeadon, = Because, of rn
a ae 55. © Plaintitt was as tansported to the emergency room, of Mercy Fitzgerald Hospital i in . Ma

: ‘ctitical condition. Be was is admitted to intensive « care unit and remained i in a coma at ne hospital. A

ED, ig Ore FO RN tees gs a
veg ‘+56... On, or 1 about the on iy of £ November 2016, while; in the c hospital, Plaintiff was oe
d tak n into custody 2 at

eee 4 anested bys the Darby! Police for failure to appeat | to. trial on. 10/7/16,

‘Delaware, County) Prison. to en to Philadelphia on .

a byt the oHonnrabls J Judge T racy 1 Brandies-Roman, 2» Paitift was as Acquitted of al charges in the:

“ *oriminel matter, © ees “Ss eee
SNA cuersni OF tUDERUSED RLS Ss Se

: : 59... As a ditect.c consequence, of the. criminal charges of Plaintife by defendants, a . oe

ar 4 separate, and related criminal action \ was initiated byt ne office. of United s States Probation and as

B. AQULTOMEEEREACION

nate i 64... On ihe e218 day of October. 2016, a 5 civil forfeiture « action. was. 3 initiated against
“sa01, 00 USD,, IN RE Olutokunbo Bfunnuga, Property receipt: #, 3242363, a
ie 65. “AL no time. was any. defendant able to find any probable « cause or gga basis, to .

‘ “justify the prosecution of the currency and on | December 1*.2017, the forfeiture action was. oo

ne ‘Withdrawn the proceedings Terminated i in favor of Plaintiff, and property returned, . 4

oo oo be ne ipo Plaintiff y. “All Defendants. “
a a VIOLATION 0 OF FOURTH AND. FE OURTEENTH ‘AMENDMENTS RIGHT OF. UNITED
. STATES CONSTITUTION. AND. ARTICLE. 1 OF THE PENNSYLVANIA

CONSTITUTION DUE PROCESS RIGHTS AND SECURED BY a2 a Ss, C. 8 1983

Cis 22571 66,, . “Plaintiff hereby, incorporate by i ference, paragraphs. l ious as though a
ar “they ste fully set forth herein. Se a ee ers
: # OF “The. due prgeess clause of the Fourteenth h Amendment of the v. S _ Constitation . Ras
“iberty "without d due process 0 of Tavs, Sy

3 _ prohibits st state actors from depriving individuals of
seg 5 ea he oe “Plaintiff ye hata Eric pecs :
oe VIOLATION OF. CIVIL RIGHTS WHILE ACTING UNDER COLOR ¢ OF 7LAW

te OR FAILURE EEO INTER ENE UNDER 42 ues C; 8 1983. By
oe 70. _Plaintft bese. incorporate sy reference, pane 1 trough , as though they “40g

- Se Sia eg eee Pe eae
a 7 1, . This cause of. action is s brought by] Plointiff, f, against Defendant Lee. for fais to.

os intervene to prevent I Defendant Farley from violating the constitutional tights of Plaintiff The. soy

oS ‘Officer has an affirmative, uty to intervene when he i is aware or should. be aware of, :
fails to take responsible steps to protect t the victims

ee constitutional vi violations in their presence and

other from. those offenses. oo ue fo
dec “Defendants, Lee failed to prevent the e aforementioned constitutional violations. to. i

bee committed against F Plaintiff when he had a reasonable opportunity to do So. Defendant Lee's 8. :

ee ao actionable under 2 US. ¢, 4 1983. om * a
“The intentional, willful and wanton acts sof Defendant Lee establish a claire for

a | punitive damages by! Plaintiff against Defendant hee, a
: "WHEREFORE, Plaintiff seeks relief under Title vi of the Civil Rights Act. of 1964; 2
and Fourteenths es

3

mt ‘us, Cc, 88 1981, 1982, 1983, 1986 and 1988; the First, Fourth, Fifth

Amendments to. the United States Constitution, other constitutional provisions, 5, federal statutes.

oy utlizing while acting unde ibe C a in their capacity if

7 his constitutionally protected rights bs
gs as police, officers by. the City. of Philadelphia. te

; a Defendants had knowledge of the nature cain scope of the e agreement and agreed. fo

es a to a fabricate an official version of events to conceal their constitutional: violations. at Plaintiff's.

er des continues to. o suffer reat pi pain; mand suffering, physical injury, emotional distress, , ental

ae “anguish, loss, of reputation, scorn of the community, economic loss and Joss of his constitutional

and other § state, and federal rights,

80. | “The. acts of the Defendants were e carried out for they very y purpose ¢ of depriving. eh
“Plaintiff, of i equal poteetion of laws and equal privileges and immunities under the. law and to.
1 ch use.0 ofe excessive. force, unreasonable search.

ther = epost cacao statu

ns to the Uni ted States Ce
0,000, 00

fees, costs, expenses. and interest.,

?

laws i in. an amount not less ‘than $15

pr ae ean tact oem All Defendants = a
"FALSE ARREST AND FALSE IMPRISONMENT |. UNDER FEDERAL LAW:

a oe are fly set forth herein, Pn biel aie
pa s 83, “20x, March 1, 2016, Plait was ss falely yacensed of crimes and yng. “

= maliciously arrested by Defendants. : :
“ -Plaintft » was 8 segue 0 on val theo crimes stat he was sch

a = proce

fad ‘lnieathe wally, maliciously, vrantony, intentionally, ecklessy 8 and vith, deliberate
aintift’s «

indifference in in concert and conspiracy with, each other and others to violate Pl
me drat, constitutional rights. under the Fourth, Ninth, and Fourteenth Amendments to. the United i States

io ae Constitution, and 42 UL S. C, 88 1983, 1985), 1986, 1988, and. other federal laws. :
2 ee 86, * Defendants’ knowingly, intentionally, willfully, maliciously, wantonly, recklessly ed
tilly imprisoned when fy new: or « i:

os ‘and. delib lay indifferently caused. Plaintiff to bev wron

ns “gould have known that he was innocent... a a
OAs a. result, of Defendants knowingly, willfully maliciously, v wantonly,

i Pe 2: sce? a
7 intentionally, recklessly and deliber ately indifferent concerted conduct, Plaintiff has suffered and ont

ee : Plaintif’s  propety was. s seized and subjected to. civil forfeiture proceedings. S a ee o

: 0, « Plaintiff was s acquitted © on all the crimes that he was. 5 shacged with asa a result of:

vay, ‘aaa

8 continued | to. suffer eat pain vand 1 suering, 5, physi in injury, Holo d distress, , mental al anguish, 3a

community, economic, loss and loss, of his constitutional and oth

a a C. § 1981, "1982, , 1983, 3, 1986 and 1988; the Fist, s, Fourth Fifth and Fouteenths bash tae

ae : Amendments t to the United States, Constitution, other constitutional provisions, . federal statutes a,

aod: : a and state Jaws in an ‘amount not less than $3. 50, 000. 00, fees, ¢ ¢ ts, expenses, and interest,

mt “VIOLATION OF F OURTH 1. AMENDMENT s s GUARANTEE -
OF FREEDOM FROM11 IREASONABLE | SE. RCH AND SEIZURE,

a ‘Amendments t to the United States Constitution, other constitutional provisions, s, federal statutes.

. cand state laws in am a pinount not less than $150, 000, 00, fees, e085, expenses: and interest, ‘. aie ts

4 COUNT vi
Lt ee Plaintiff ¥. Defendant Farley . ay Say ama baad
: ECHSSIVE FORCE ee ae BATTERY ,

195, + ‘Plaintift bey i incorporates a reference Paragraph 1 trough #3 as bough they 2 3

% ie fully set forth herein,.20 ses oe
:. te On March, 1, 2016, Defendant Farley senile ida wanted. 4 Plaintite without

provocation of legal justification, a
6 ‘At all times during the assault and battery, Plaintiff w was in n the custody of

Defendant Farley by, show of his authority as. a City. of Philadelphia police officers,
: As a direct and proximate result of Defendant F arley’ s assault and battery of

Plait Plaintft was, cause to suffer injuries to his wrist, and arm. eae
*199. “Defendant Farley’ s assault and battery of Plaintiff was done cinowinely way

is “aalisiousy, wantonly, intentionally, recklessly. and deliberately indifferent, concerted conduct, .

‘Plaintiff, has. suffer ed and continued to suffer great pain and suffering, physical i injury, emotional. ae

3 : 4 distress, mental anguish, loss. of reputation, s scorn of tae community, e economic. loss. and. loss, of

| ‘his constitutional and other federal tights,
oe “ee recklessly and delioeraely i indifference to one Plaintt ex! ene emotional distress.

. 102, Defendants’ actions caused Plaintiff to attempt suicide, st ffer unnecessary,

. oo physical pain, suffering and emotional pain ¢ and suffering. at oh
me : 103 = ‘Defendants’ ‘conduct in. concert with each other, was done Ienowingly, a

a eat willfully, maliciously, wantonly grosly, intentionally and recklessly a and W was “i Le

oh oa recklessly a and | detioerstely indifferent concerted conduct, Plaintift has s suffered and .

= ‘continued to. suffer a violation of his constitutional rights, and, to suffer. great, pain and suffering, :
scorn ‘of the community

° physical in injury, ‘emotional distress, , mental anguish, loss of reputation,
= economic loss and loss, of his constitutional and, other federal rights. oy) . :
mre tf - WHEREFORE, Plaintiff seeks relief under Title VI of the Civil Rights Act of. 1964; 42
ag c.g §§ 1981, 1982, 1983, 1986 and, 1988; the First, Fourth, Fifth, and Foutteenths :

“Amendments to the United States Constitution, other constitutional provisions, federal statutes

aeigs. “and state Jaws § in an, 1 amount not less than $150, 000, 00, fees, costs,  EXDENSES and interest,

“.SRETALIATION .:
oe syste ee el
- “economic! loss and ie oth his s constitutional and other federal rights.
oe - WHEREFORE, Plaintifé seeks relief under Title vI of the cwil LRighs A Act. of 1964; 2D. te

Bat oe “conspite cy y with each other and J other to ro wrongly sthatete with. Plaintiff s eee yah,

«they ae fly st forth herein. ee a uy Ss oe ee i
oe a i 115, <The. acts and conduct allege in pace L to 116 constitute torts s under the las

of! yy False A Attest, ‘alse Imprisonment; -
7 a Illegal $ Search. and Seizure; oe :
ie s ‘¢) Failure to Intervene, : Bg
‘Ol Excessive Force, Assault and Battery; : i
3) Unequal Protection. of Lew, Selective. atoroement
f Malicious Prosecutions
. : 8) Intentional, Infliction, of Emotional Distress
“h). Abuse of process, Malicious abuse of: p 0888;

NC Civil Conspiracy; 4

4 a, On n all claims for eich Plaine demands damages in nie amounts 3 as. stated 0 on nal

claims for relief and all, costs of this action with interest, 8. ie

2 hey age folly set forth herein, Beaty init ot glade a
Js 2, 17, On all. claims for. relief asserted, Plaintiff demands a trial by jury. °°

HARD RELIEF -

Ue, : PLAINTIFF SEEKS: :

_ A. Declaratory judgment that, the acts of City of Philadelphia, the Philadciphia Police

js Department, and their agents servants and violated the plaintiff's constitutional

employees,

ghts; 03 os, Rialtorat, See % 2 ie top
= “B. An awatd of compensatory damages to the plsintif’ in. amount to be determined by the.

Sas sufficient, to compensate | the plaintiff f for the injuries,  deseribed i in. this complaint;

“tl trier cof fact

RESPECTFULLY, SUBMITTED,

© Olutokunbo Bfuange

Steven Farley, et ale.

ay 1 Olntkmbo Btunmugs, declare that al facts stated in the 5 foregoing Complaint ts . a
ae oe damages are. true ead correct to othe best oft my y owl {information 8 and belies and are, eo : oo

“eubject | to the penalties, oft perjury as eeaioiced for) in, 28 U. S C. 5 1746, foru unsworn 2 falsification S. : ;

‘ RESPECTFULLY SUB BMITTED,

rahe pee |

be “OLUTOKUNBD EFUNNUGA ne

"5: 4! Steyen Farley, et al. 230-00

Sys SNR WR. :

22 mfg 30 Gf 33: 4

AN. THE UNITED. ST. ATES. DISTRICT:-COURT .::
HOR THE EASTERN DISTRICT OF PENNSYLVANIA

Civil Action No, 2:18-cy-0924

| : eer prior to 5:00 pam, on --Belf i
. - the attached Complaint, together with, all attachments, exhibits, and J supporting papers, in nthe
United States mail, in Lal propey-adsged, envelopes, with first Glass postage duly paid ae oo

City [ of Philadelphia Solicitors Offic ice
14 Bloor <2:

